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 5
     Attorney for Defendant,
 6   JASON CAVILEER

 7
                               IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                         CASE NO. 2:10-CR-00347 MCE

11              Plaintiff,                             STIPULATION AND ORDER

12        vs.                                          DATE: August 14, 2014
                                                       TIME: 9:00 AM
13   JASON CAVILEER,                                   JUDGE: Hon. Morrison C. England, Jr.

14              Defendant.

15

16          It is hereby stipulated and agreed to between the United States of America through Justin

17   Lee, Assistant U.S. Attorney, and defendant Jason Cavileer, by and through his attorney, Dan

18   Koukol, that the sentencing hearing of August 14, 2014 be vacated and that a sentencing hearing

19   be set for September 25, 2014 at 9:00 AM.

20          //

21          //

22          //

23          //

24          //

25          //
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 1          This continuance is being requested because counsel will be in a jury trial from August 5,

 2   2014 through August 26, 2014 in case number 2:12-CR-00003 LKK.

 3
     DATED: AUGUST 8, 2014                Respectfully submitted,
 4

 5                                        /s/ DAN KOUKOL
                                          _________________________________
 6                                        DAN KOUKOL
                                          Attorney for defendant Jason Cavileer
 7

 8
     DATED: AUGUST 8, 2014                Respectfully submitted,
 9

10                                        /s/ DAN KOUKOL FOR JUSTIN LEE
                                          _________________________________
11                                        JUSTIN LEE
                                          Assistant U.S. Attorney
12

13          The sentencing hearing in the above-entitled matter, scheduled for August 14, 2014, be

14   vacated and the matter continued to September 25, 2014, at 9:00 AM for sentencing.

15          IT IS SO ORDERED.

16   Dated: August 13, 2014

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